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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA

Criminal No. 1:23-cr-10130-IT
LITANG LIANG,

Defendant.

JURY VERDICT FORM

WE THE JURY, FIND:

i As to Count Two: Acting as an Agent of a Foreign Government Without Notice to the

Attorney General, we find the defendant, Litang Liang:

ZL Not Guilty Guilty

As to Count One: Conspiracy to commit a crime, to wit: Acting as an Agent of a

Foreign Government Without Notice to the Attorney General, we find the defendant,

Litang Liang:

eo Not Guilty Guilty

I certify that the foregoing is the unanimous verdict of the jury.

FOREPERSON

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